                                Case 1:18-cv-00568-EAW Document 1-1 Filed 05/17/18 Page 1 of 4
                                                        Exhibit A to the Complaint
Location: Buffalo, NY                                                                                 IP Address: 104.228.160.74
Total Works Infringed: 63                                                                             ISP: Time Warner Cable
 Work        Hash                                        Site                UTC          Published         CRO App. File   CRO Number
                                                                                                            Date
 1           99957AC3E4FC9CBF0B0EAC8E83FCB6ACAB999B8D    Blacked Raw         03/28/2018   03/28/2018        04/07/2018      PA0002091513
                                                                             19:54:10
 2           00C636D16E72BBAAD14A0BC8284F487225DF51A4    Blacked Raw         11/13/2017   11/13/2017        11/21/2017      16020392832
                                                                             21:40:09
 3           01B8C563D27BC967C2ECCC1EB54F98FF1B10ED3B    Vixen               11/30/2017   11/30/2017        12/17/2017      16159649437
                                                                             23:47:07
 4           0332B1C3ADE6E5BD71FFBE569178B8F26B853253    Blacked             03/16/2018   03/16/2018        04/07/2018      PA0002091582
                                                                             19:17:53
 5           091852540ADF58519DB27F6E96AF0948E30B5DF5    Vixen               01/14/2018   01/14/2018        01/20/2018      16223964582
                                                                             20:22:07
 6           0F4CB5BFE31D785D0469C73F83F7CEB7AF0E1F9B    Blacked             11/06/2017   11/06/2017        11/15/2017      16013342719
                                                                             21:19:30
 7           131D4EE65059B24A3A7AEB0266F1E2F1A6BE80F7    Blacked             09/19/2017   09/17/2017        10/10/2017      PA0002086174
                                                                             19:43:04
 8           1D01B2A9C9D17E72CC2F005AE19FFD35C0DC93E6    Blacked             03/21/2018   03/21/2018        04/07/2018      PA0002091520
                                                                             21:29:14
 9           1D2B05C3677283D5FD266270EFA7CF1B3C1025EC    Blacked             03/11/2018   03/11/2018        04/07/2018      16490950811
                                                                             19:35:58
 10          209712038E6EA91F4D20F2633AE0880CD6C6970A    Vixen               10/02/2017   10/01/2017        10/10/2017      PA0002086155
                                                                             05:25:20
 11          27EF224D023462A415E9AA1F50ED06DDA40C617F    Blacked             10/23/2017   10/22/2017        11/15/2017      PA0002063627
                                                                             03:22:50
 12          2B47AB1AC715202A682205DE2386E9131256D398    Blacked             01/25/2018   01/25/2018        02/03/2018      16331855819
                                                                             20:09:34
 13          384978F30B85187E2B32ADF552CDBE1E780E4C93    Blacked             03/31/2018   03/31/2018        04/07/2018      PA0002091516
                                                                             21:05:33
 14          3D975982F1D32ABB38E851EAA39614D3ADCD8FB2    Blacked             12/01/2017   12/01/2017        12/17/2017      16159649724
                                                                             23:01:08
 15          3E4D1B5168D11A249867DAEBCF3B524396BF2FF4    Blacked Raw         03/08/2018   03/08/2018        03/15/2018      16490950909
                                                                             19:00:37
 16          3E97BA63DC43E5E5C8F673ACD2A36D13532136EA    Blacked             01/10/2018   01/10/2018        01/18/2018      PA0002070942
                                                                             20:30:02
                          Case 1:18-cv-00568-EAW Document 1-1 Filed 05/17/18 Page 2 of 4
Work   Hash                                       Site          UTC          Published     CRO App. File   CRO Number
                                                                                           Date
17     44F3F16CC60D7AE034BB31F4EE5BF34D9BA6DEE7   Blacked Raw   03/13/2018   03/13/2018    04/07/2018      16490951096
                                                                20:21:56
18     450BF9E0938225411862819CF362767C314B55CD   Blacked       01/05/2018   01/05/2018    01/18/2018      16199943644
                                                                20:09:43
19     46EEF973B7C807D503B35602AAA73C61148F2278   Blacked Raw   11/08/2017   11/08/2017    11/21/2017      16013185382
                                                                23:07:57
20     50A31827247C2EF81673E8B42F537934E279C371   Blacked       10/08/2017   10/07/2017    10/22/2017      PA0002058300
                                                                06:59:07
21     5FDD1D5C14C8477B7671C8C22BA2893B25B73FC7   Vixen         12/30/2017   12/30/2017    01/18/2018      PA0002070944
                                                                19:49:18
22     60328EEE835FE48915C40A8E8C96CE0144321A85   Vixen         09/27/2017   09/26/2017    10/10/2017      PA0002085861
                                                                04:51:59
23     618399B973A63AD1303D268B26DA083F57719E89   Blacked Raw   12/19/2017   12/18/2017    01/18/2018      16215823662
                                                                01:35:41
24     668FF39D13617B304AE77A0520D19CF04CECDE0F   Blacked Raw   02/11/2018   02/11/2018    02/17/2018      16331855536
                                                                20:05:04
25     6A61612A204675F6F75F546DF27303CB8963D660   Vixen         10/16/2017   10/16/2017    10/19/2017      PA0002090451
                                                                19:27:56
26     6F84C2A55F97EB2BB186C8752430B8C482F0D417   Blacked Raw   01/12/2018   01/12/2018    01/20/2018      16215823770
                                                                22:32:08
27     7353ED9F41626B8991109849D8088558206CCFD0   Vixen         01/19/2018   01/19/2018    02/03/2018      16331856016
                                                                19:50:24
28     7AEE9D2C63930E5D00C2BBA99B6A4EBBD19133CF   Vixen         03/25/2018   03/25/2018    04/07/2018      16490950968
                                                                19:44:48
29     7C2689AB5C9DD21C9E3A29FEA77C84638401F960   Blacked       01/30/2018   01/30/2018    03/01/2018      PA0002079186
                                                                19:59:03
30     7E05CE85F61F8D43D40CF530AD0FB5D9D7F25FF5   Blacked       02/09/2018   02/09/2018    02/16/2018      16331855770
                                                                19:16:00
31     811DEB6026F6FB0782CE1B3B449C2C7E002317E4   Blacked       12/16/2017   12/16/2017    01/18/2018      16215824182
                                                                20:57:29
32     842B57BB37085FDEB841E25E2337B90905E20C4E   Vixen         09/22/2017   09/21/2017    10/10/2017      PA0002086168
                                                                05:06:52
33     8BA84E95B165863A35836BEA6042F1DCEC5AB711   Vixen         01/29/2018   01/29/2018    02/07/2018      16335134850
                                                                20:07:44
34     8BCD4A6CFF98E3AF31332EF4A2835760D9ACA0D4   Blacked Raw   12/23/2017   12/23/2017    01/18/2018      16200020025
                                                                19:59:38
                          Case 1:18-cv-00568-EAW Document 1-1 Filed 05/17/18 Page 3 of 4
Work   Hash                                       Site          UTC          Published     CRO App. File   CRO Number
                                                                                           Date
35     8FB4D5F416E7821AA082D143F6EB289B4DA2238A   Vixen         02/08/2018   02/08/2018    03/01/2018      PA0002079183
                                                                19:23:32
36     947FD6657EC9E14C83D86F7E129F89459D91AACE   Vixen         11/15/2017   11/15/2017    11/21/2017      16013342550
                                                                20:22:25
37     973306499CCF5C90FB3899481EE9FDB896D23743   Blacked       12/06/2017   12/06/2017    12/17/2017      16159688299
                                                                21:20:48
38     A39A4EF03CF8F30E706C709DCA309045572ACDB4   Vixen         11/25/2017   11/25/2017    12/17/2017      16159428912
                                                                20:28:04
39     A6DE86D6AC9298FD387ED85F2FB43156AB531594   Blacked       09/23/2017   09/22/2017    10/02/2017      PA0002057455
                                                                06:05:19
40     AC4896F8A23F9E39C13DDB76345FD6EBD0263374   Blacked       12/21/2017   12/21/2017    01/18/2018      PA0002070941
                                                                20:06:49
41     B495BA1758150C87F9965ED9A8134E78CD95F4F5   Vixen         10/21/2017   10/21/2017    11/15/2017      16016503512
                                                                20:05:37
42     B7F9B4455C8C085B75BD0E4E23AA26317B2DE1FB   Vixen         01/24/2018   01/24/2018    02/03/2018      16331855888
                                                                22:08:11
43     B8040C20845C224B120F927AE0ABC2C01E47A1E9   Blacked       11/26/2017   11/26/2017    01/04/2018      PA0002069346
                                                                21:36:25
44     BA107630EA68CCF18D690A0A50B1823E6247BCAC   Blacked       11/16/2017   11/16/2017    11/18/2017      16020392782
                                                                20:52:06
45     BA180BD952CACDB9A3D4470D02B2DA758021BA47 Blacked         10/02/2017   10/02/2017    10/10/2017      PA0002086142
                                                                21:20:02
46     C5801933E35BCD594B73AAAC656A63F1A5CA8E8B   Blacked       12/11/2017   12/11/2017    12/17/2017      16159650140
                                                                22:06:59
47     C957E7DD8C199D206E8D94160800DFE0A0E7EB22   Vixen         01/04/2018   01/04/2018    01/18/2018      PA0002070947
                                                                21:01:00
48     CB01140AD9E1A09758CECAEEB9DB0E19B2169DEA   Blacked Raw   04/03/2018   04/02/2018    04/07/2018      16490950654
                                                                01:58:45
49     CC36967DDF49C539E355D99A9D2A37CCFD3435C6   Vixen         12/20/2017   12/20/2017    01/18/2018      16199943862
                                                                21:01:28
50     CE7F19662BFCAA1C1482CD2B20490D9057CA15C6   Vixen         10/11/2017   10/11/2017    10/19/2017      PA0002090452
                                                                20:43:54
51     D49AB801AEA42EDB09644460F82DFD2DC74791D7   Vixen         12/15/2017   12/15/2017    01/18/2018      16215970293
                                                                20:29:41
52     D4BCCA334434C333F632877C9C91A4A21E60F521   Vixen         02/13/2018   02/13/2018    02/17/2018      16335134323
                                                                20:21:38
                          Case 1:18-cv-00568-EAW Document 1-1 Filed 05/17/18 Page 4 of 4
Work   Hash                                       Site          UTC          Published     CRO App. File   CRO Number
                                                                                           Date
53     D76E1157915CAC15BC8BD2FDCE47C6B9AF32EA46   Blacked       11/11/2017   11/11/2017    11/21/2017      16016503414
                                                                20:59:54
54     DAB13CD6836481F313013F0B1442EDCB37423A3F   Blacked       02/24/2018   02/24/2018    03/01/2018      PA0002079184
                                                                19:45:11
55     E180A64C46C7FCDDC311D1A51F231341134AF9D6   Blacked       01/15/2018   01/15/2018    01/20/2018      16215970440
                                                                20:39:38
56     E407E18B484AE30BFA207F583268A23571AC56BF   Blacked       10/12/2017   10/12/2017    10/22/2017      PA0002058296
                                                                22:01:25
57     E46B81E1A71E3AC4E1FF3BC9B79FCF54E0D2AF00   Blacked       11/01/2017   11/01/2017    11/15/2017      16013342262
                                                                21:43:16
58     E48665E26ACE2AC908A80B030E5B02682277F35C   Blacked Raw   01/07/2018   01/07/2018    01/18/2018      16215824015
                                                                22:10:41
59     E6B69D8BD2357CED77EA3A2ADD13CAF33C065314   Vixen         10/07/2017   10/06/2017    10/19/2017      PA0002090453
                                                                04:29:09
60     E9FBFDCF7F3EDBEF21ABC8520BCF48CAB62C397C   Blacked Raw   02/02/2018   02/01/2018    02/07/2018      16288762262
                                                                02:15:08
61     EB78B7F388231B38F336BC0B901F7C7C86B9EC24   Blacked       03/26/2018   03/26/2018    04/07/2018      PA0002091525
                                                                20:59:51
62     F011B5C1E76C5CD712DADA5DF9CE66184EAA72B2   Blacked       10/17/2017   10/17/2017    11/15/2017      16013343097
                                                                22:33:34
63     FFCE08F29D87DBD39F40EB96796C74EA315AAA7E   Blacked       12/26/2017   12/26/2017    01/18/2018      16215823966
                                                                19:52:02
